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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE m_-` M)R 29 ppg l»,: EQ

EASTERN DIVISION 7
BooKER HoRGEs, ) _ \§iliii“c`:%=lii?rl agree
Plaintiff, §
vs. § Civil Action No.: 1:03-1231- B/P
CORRECTIONS CORPORATION §
OF AMERICA, et al., )
Defeodants. §

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Cornpel Deadline. The padies
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the
deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

IT IS SO OR_DERED.

 

KM\

IUDGE

DATED: "{ _/Lz !03/

 

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayoe A.
Ritchie, II and Robert W. Ritchie, Ritchie F eis & Dillard, P.C., P.O. Box 1126, Knoxville, TN
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Apn'i 14, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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Honorable J. Breen
US DISTRICT COURT

